                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


SHAUNA WILLIAMS, FLOR HERRERA-
PICASSO, MINERVA FREEMAN, MAURA
ACETO, JAVIER LIMON, ARMENTA
EATON, JAMES ADAMS, LUCIANO
GONZALEZ-VEGA, CHENITA JOHNSON,
PAMLYN STUBBS, EARL JONES, ALLISON
SHARI ALLEN, LAURA MCCLETTIE,
NELDA LEON, GERMAN DE CASTRO,
ALAN RENE OLIVA CHAPELA, VIRGINIA                  Civil Action No. 1:23-cv-1057
KEOGH, and NATALEE NANETTE NIEVES,

                 Plaintiffs,                    COMPLAINT FOR DECLARATORY
                                                   AND INJUNCTIVE RELIEF
       v.

REPRESENTATIVE DESTIN HALL, in his              THREE-JUDGE PANEL REQUESTED
official capacity as Chair of the House
Standing Committee on Redistricting;
SENATOR WARREN DANIEL, in his official
capacity as Co-Chair of the Senate Standing
Committee on Redistricting and Elections;
SENATOR RALPH E. HISE, JR., in his
official capacity as Co-Chair of the Senate
Standing Committee on Redistricting and
Elections; SENATOR PAUL NEWTON, in his
official capacity as Co-Chair of the Senate
Standing Committee on Redistricting and
Elections; REPRESENTATIVE TIMOTHY K.
MOORE, in his official capacity as Speaker of
the North Carolina House of Representatives;
SENATOR PHILIP E. BERGER, in his
official capacity as President Pro Tempore of
the North Carolina Senate; THE NORTH
CAROLINA STATE BOARD OF
ELECTIONS; ALAN HIRSCH, in his official
capacity as Chair of the North Carolina State
Board of Elections; JEFF CARMON III, in his
official capacity as Secretary of the North
Carolina State Board of Elections; STACY
EGGERS IV, in his official capacity as
Member of the North Carolina State Board of
Elections; KEVIN LEWIS, in his official
capacity as Member of the North Carolina




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State Board of Elections; and SIOBHAN
O’DUFFY MILLEN, in her official capacity as
Member of the North Carolina State Board of
Elections,

                   Defendants.



                                        INTRODUCTION

       1.      Plaintiffs bring this action to challenge North Carolina’s 2023 Congressional Plan,

which was enacted as Senate Bill 757 on October 25, 2023, and represents the third time in as

many years that the North Carolina General Assembly has drawn congressional districts that

disadvantage minority voters.

       2.      North Carolina gained a congressional district after the 2020 Census, almost

entirely due to an increase in the state’s minority population. But instead of granting minority

voters the benefit of the state’s increased representation, the General Assembly majority

capitalized on that gain to increase their own power and decrease minority voting power.

       3.      By strategically packing and cracking North Carolina’s minority voters, the 2023

Congressional Plan entrenches the state’s white majority and erases the gains made by voters of

color in the 2020 and 2022 election cycles.

       4.      The 2023 Congressional Plan is just the most recent enactment in North Carolina’s

long history of discriminatory voting laws and redistricting plans. North Carolina’s minority

populations have long suffered from voting discrimination and vote dilution and as a result have

endured persistent disparities in political representation.

       5.      The state’s newly enacted congressional redistricting plan exacerbates these issues

by drawing minority voters within and without of districts on the basis of race so as to minimize

minority voting strength and dismantle existing minority opportunity districts across the state.



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       6.       Plaintiffs seek an order declaring that Congressional Districts 1, 6, 12, and 14 are

unconstitutional racial gerrymanders; declaring that the 2023 Congressional Plan intentionally

discriminates against minority voters in violation of the Fourteenth and Fifteenth Amendments to

the U.S. Constitution; enjoining enforcement of the 2023 Congressional Plan; and facilitating the

adoption of a lawful congressional plan.

                                            PARTIES

A. Plaintiffs

       7.       Plaintiff Shauna Williams is a Black Citizen of the United States and of the State

of North Carolina, a registered voter, and a resident of Warrenton in Warren County. Ms.

Williams’s residence was located in Congressional District 1 under the map that was in place for

the 2022 congressional election (the “2022 Congressional Plan”) and is also in Congressional

District 1 under the 2023 Congressional Plan.

       8.       Plaintiff Flor Herrera-Picasso is a Latina Citizen of the United States and of the

State of North Carolina, a registered voter, and a resident of Wilson in Wilson County. Ms.

Herrera-Picasso’s residence was located in Congressional District 1 under the 2022 Congressional

Plan and is also in Congressional District 1 under the 2023 Congressional Plan.

       9.       Plaintiff Minerva Freeman is a Black Citizen of the United States and of the State

of North Carolina, a registered voter, and a resident of Greenville in Pitt County. Ms. Freeman’s

residence was located in Congressional District 1 under the 2022 Congressional Plan and is newly

located in Congressional District 3 under the 2023 Congressional Plan.

       10.      Plaintiff Maura Aceto is a Latina Citizen of the United States and of the State of

North Carolina, a registered voter, and a resident of Greenville in Pitt County. Ms. Aceto’s

residence was located in Congressional District 1 under the 2022 Congressional Plan and is newly

located in Congressional District 3 under the 2023 Congressional Plan.


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       11.     Plaintiff Javier Limon is a Latino Citizen of the United States and of the State of

North Carolina, a registered voter, and a resident of Greenville in Pitt County, where he is a student

at East Carolina University. Mr. Limon’s residence was located in Congressional District 1 under

the 2022 Congressional Plan and is newly located in Congressional District 3 under the 2023

Congressional Plan.

       12.     Plaintiff Armenta Eaton is a Black Citizen of the United States and of the State of

North Carolina, a registered voter, and a resident of Louisburg in Franklin County. Ms. Eaton’s

residence was located in Congressional District 1 under the 2022 Congressional Plan and is newly

located in Congressional District 13 under the 2023 Congressional Plan.

       13.     Plaintiff James Adams is a Black Citizen of the United States and of the State of

North Carolina, a registered voter, and a resident of High Point in Guilford County. Mr. Adams’s

residence was located in Congressional District 6 under the 2022 Congressional Plan and is also

in Congressional District 6 under the 2023 Congressional Plan.

       14.     Plaintiff Luciano Gonzalez-Vega is a Latinx Citizen of the United States and of the

State of North Carolina, a registered voter, and a resident of Greensboro in Guilford County. Mx.

Gonzalez-Vega’s residence was located in Congressional District 6 under the 2022 Congressional

Plan and is also in Congressional District 6 under the 2023 Congressional Plan.

       15.     Plaintiff Chenita Johnson is a Black Citizen of the United States and of the State of

North Carolina, a registered voter, and a resident of Winston-Salem in Forsyth County. Ms.

Johnson’s residence was located in Congressional District 6 under the 2022 Congressional Plan

and is newly located in Congressional District 10 under the 2023 Congressional Plan.

       16.     Plaintiff Pamlyn Stubbs is a Black Citizen of the United States and of the State of

North Carolina, a registered voter, and a resident of Greensboro in Guilford County. Ms. Stubbs’s




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residence was located in Congressional District 6 under the 2022 Congressional Plan and is newly

located in Congressional District 5 under the 2023 Congressional Plan.

       17.    Plaintiff Earl Jones is a Black Citizen of the United States and of the State of North

Carolina, a registered voter, and a resident of Greensboro in Guilford County. Mr. Jones’s

residence was located in Congressional District 6 under the 2022 Congressional Plan and is newly

located in Congressional District 5 under the 2023 Congressional Plan.

       18.    Plaintiff Allison Shari Allen is a Black Citizen of the United States and of the State

of North Carolina, a registered voter, and a resident of Charlotte in Mecklenburg County. Ms.

Allen’s residence was located in Congressional District 14 under the 2022 Congressional Plan and

is newly located in Congressional District 12 under the 2023 Congressional Plan.

       19.    Plaintiff Laura McClettie is a Black Citizen of the United States and of the State of

North Carolina, a registered voter, and a resident of Charlotte in Mecklenburg County. Ms.

McClettie’s residence was located in Congressional District 14 under the 2022 Congressional Plan

and is newly located in Congressional District 12 under the 2023 Congressional Plan.

       20.    Plaintiff Nelda Leon is a Latina Citizen of the United States and of the State of

North Carolina, a registered voter, and a resident of Charlotte in Mecklenburg County. Ms. Leon’s

residence was located in Congressional District 14 under the 2022 Congressional Plan and is newly

located in Congressional District 12 under the 2023 Congressional Plan.

       21.    Plaintiff German De Castro is a Latino Citizen of the United States and of the State

of North Carolina, a registered voter, and a resident of Charlotte in Mecklenburg County. Mr. De

Castro’s residence was located in Congressional District 14 under the 2022 Congressional Plan

and is newly located in Congressional District 12 under the 2023 Congressional Plan.




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        22.    Plaintiff Alan Rene Oliva Chapela is a Latino Citizen of the United States and of

the State of North Carolina, a registered voter, and a resident of Charlotte in Mecklenburg County.

Mr. Oliva Chapela’s residence was located in Congressional District 14 under the 2022

Congressional Plan and is newly located in Congressional District 12 under the 2023

Congressional Plan.

        23.    Plaintiff Virginia Keogh is a Black Citizen of the United States and of the State of

North Carolina, a registered voter, and a resident of Charlotte in Mecklenburg County. Ms.

Keogh’s residence was located in Congressional District 14 under the 2022 Congressional Plan

and is also in Congressional District 14 under the 2023 Congressional Plan.

        24.    Plaintiff Natalee Nanette Nieves is a Latina Citizen of the United States and of the

State of North Carolina, a registered voter, and a resident of Gastonia in Gaston County. Ms.

Nieves’s residence was located in Congressional District 14 under the 2022 Congressional Plan

and is also in Congressional District 14 under the 2023 Congressional Plan.

B. Defendants

        25.    Defendant Destin Hall is a member of the North Carolina House of Representatives

and currently serves as the Chair of the House Standing Committee on Redistricting, which

oversaw the creation of the 2023 Congressional Plan. Mr. Hall is sued in his official capacity only.

        26.    Defendant Warren Daniel is a member of the North Carolina Senate and currently

serves as a co-Chair of the Senate Standing Committee on Redistricting and Elections, which

oversaw the creation of the 2023 Congressional Plan. Mr. Daniel is sued in his official capacity

only.

        27.    Defendant Ralph E. Hise, Jr. is a member of the North Carolina Senate and

currently serves as a co-Chair of the Senate Standing Committee on Redistricting and Elections,




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which oversaw the creation of the 2023 Congressional Plan. Mr. Hise is sued in his official capacity

only.

        28.    Defendant Paul Newton is a member of the North Carolina Senate and currently

serves as a co-Chair of the Senate Standing Committee on Redistricting and Elections, which

oversaw the creation of the 2023 Congressional Plan. Mr. Newton is sued in his official capacity

only.

        29.    Defendant Timothy K. Moore is the Speaker of the North Carolina House of

Representatives. Mr. Moore is sued in his official capacity only.

        30.    Defendant Philip E. Berger is the President Pro Tempore of the North Carolina

Senate. Mr. Berger is sued in his official capacity only.

        31.    Defendant North Carolina State Board of Elections is the agency responsible for

the regulation and administration of elections in North Carolina. It is tasked with “general

supervision over the primaries and elections in the State,” N.C. Gen. Stat. § 163-22(a), including

elections for the U.S. House of Representatives.

        32.    Defendant Alan Hirsch is the Chair of the North Carolina State Board of Elections.

Mr. Hirsch is sued in his official capacity only.

        33.    Defendant Jeff Carmon III is the Secretary of the North Carolina State Board of

Elections. Mr. Carmon is sued in his official capacity only.

        34.    Defendant Stacy Eggers IV is a member of the North Carolina State Board of

Elections. Mr. Eggers is sued in his official capacity only.

        35.    Defendant Kevin Lewis is a member of the North Carolina State Board of Elections.

Mr. Lewis is sued in his official capacity only.




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       36.     Defendant Siobhan O’Duffy Millen is a member of the North Carolina State Board

of Elections. Ms. Millen is sued in her official capacity only.

                                 JURISDICTION AND VENUE

       37.     Plaintiffs bring this action under the Fourteenth and Fifteenth Amendments to the

U.S. Constitution.

       38.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331, 1343, and 1357 because the matters in controversy arise under the Constitution and laws

of the United States, as well as under 42 U.S.C. §§ 1983 and 1988.

       39.     This Court has personal jurisdiction over Defendants, who are sued in their official

capacities and reside within this state, pursuant to Fed. R. Civ. P. 4(k)(1)(A).

       40.     Venue is proper because a substantial part of the events that give rise to Plaintiffs’

claims have occurred, and will occur, in this District. 28 U.S.C. § 1391(b).

       41.     A three-judge panel is requested pursuant to 28 U.S.C. § 2284(a), as this action

challenges “the constitutionality of the apportionment of congressional districts.”

       42.     The Court has jurisdiction to grant declaratory and injunctive relief under Federal

Rules of Civil Procedure 57 and 65 and 28 U.S.C. §§ 2201 and 2202.

                                      STATEMENT OF FACTS

A. North Carolina’s Post-2020 Census Redistricting Process

       43.     Typically, the task of drawing new district maps in North Carolina occurs once

every 10 years. See U.S. Const. art. I, § 4; N.C. Const. art. II, §§ 3, 5. But due to the General

Assembly majority’s unflinching commitment to entrenching their party’s political power at the

expense of voters of color, North Carolina’s congressional map has been redrawn no fewer than

four times in the past three years.




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           44.    North Carolina gained a congressional district after the 2020 Census, almost

entirely due to an increase in its minority population.

           45.    The North Carolina General Assembly first voted to approve a new congressional

map on November 4, 2021, along with state House and state Senate maps.

           46.    Despite claims from the General Assembly that all map-drawing had occurred

publicly, and despite adopting redistricting criteria explicitly banning political considerations and

the use of election data, litigation later revealed that secret “concept maps” had been used—and

then destroyed—in drawing North Carolina’s 2021 maps. The General Assembly had almost

entirely ignored recommendations for a fair and open redistricting process that nonpartisan civil

rights and voter advocacy organizations shared with the North Carolina General Assembly months

earlier.

           47.    The Supreme Court of North Carolina struck down all three maps as unlawful

partisan gerrymanders on February 4, 2022.

           48.    The General Assembly passed remedial maps on February 17, 2022. Less than a

week later, the remedial congressional map was likewise struck down as an unconstitutional

partisan gerrymander. Harper v. Hall, File No. 21 CVS 015426, Wake County Superior Court.

           49.    A special master drew the congressional plan that North Carolina used for the 2022

elections.

           50.    Earlier this year, however, a newly-constituted Supreme Court of North Carolina

granted legislators’ petition to rehear the partisan gerrymandering case and then vacated and

reversed the Court’s prior opinions. In doing so, the court held that “partisan gerrymandering

claims present a political question that is nonjusticiable under the North Carolina Constitution.”




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Harper v. Hall, 384 N.C. 292, 300 (2023). It also granted legislators’ request to redraw the

congressional and state legislative maps. Id. at 378.

       51.     The General Assembly waited nearly five months to take up the task of redistricting

again. In the meantime, it passed a 625-page budget, in which it included a provision to reduce

transparency in redistricting by overturning a longstanding state law that made legislators’

redistricting communications and drafting documents part of the public record once new district

maps became law. This budget was enacted into law, contributing to an even less transparent 2023

redistricting process.

       52.     Providing less than one week’s notice, the General Assembly announced in late

September that the 2023 redistricting process would begin. Although nonpartisan civil rights and

voter advocacy organizations again shared recommendations for a fair and open redistricting

process with the North Carolina General Assembly, these recommendations were, again, ignored.

       53.     As was the case in 2021, there was very limited opportunity for public input and

advocacy during the 2023 redistricting process. The General Assembly held only three public

hearings, with no virtual option, all during business hours. None of these hearings were in

Charlotte, Greensboro, Durham, or Winston-Salem, four of North Carolina’s largest and most

diverse population centers.

       54.     No draft maps or proposed redistricting criteria were shared in advance of any of

the public hearings.

       55.     At the public hearings, representatives from minority advocacy organizations urged

the General Assembly to consult racial data in drawing maps to protect against minority vote

dilution in accordance with federal law.




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       56.     On October 18, 2023, the General Assembly released draft legislative and

congressional map proposals.

       57.     The following day, after releasing draft map proposals, the Senate Standing

Committee on Redistricting and Elections released its redistricting criteria for drawing the

congressional and Senate maps. The House Standing Committee on Redistricting still has not

published its criteria for drawing the House map.

       58.     The published plan criteria for congressional redistricting include equal population,

compactness, contiguity, and respect for existing political subdivisions. They also state that “Data

identifying the race of individuals or voters shall not be used in the drafting of districts,” and that

“[t]he General Assembly may consider partisan advantage and incumbency protection in the

application of its discretionary redistricting decisions,” as well as “incumbent residence.”

       59.     On October 19, 2023, Representative Destin Hall, Chair of the House Standing

Committee on Redistricting, and Senator Ralph Hise, Co-Chair of the Senate Standing Committee

on Redistricting and Elections, also directed legislative staff to publish racial data regarding the

legislative and congressional maps. Representative Hall stated that “racial data was not used” in

the mapmaking process, while Senator Hise stated that “the chairs did not use racial data when

drawing the legislative and congressional maps.”

       60.     That same day, Senator Natasha Marcus asked Senator Hise whether there would

be any opportunity for public comment given that there were finally proposed maps. Senator Hise

responded “[t]here is no scheduled public comment at this time.” No further public comment

hearings were ever scheduled.

       61.     At the unveiling of congressional map CCJ-1, the proposal ultimately enacted into

law, Senator Michael Garrett of Guilford plainly asked, “Why would we split Guilford County




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among three different congressional districts when that is not necessary?” Senator Hise responded

by saying larger counties were more likely to be split, even multiple times, so as to minimize splits

for other counties. He also offered the following: “Congratulations to Guilford for having the

opportunity of being represented by three members of Congress, something not a lot of

municipalities have the strengths to be able to accomplish.” To which Senator Garrett ultimately

responded, “Guilford County would like to have one member of Congress, not three.”

        62.     On October 25, 2023, the North Carolina legislature enacted the new congressional

and legislative maps. These maps were not subject to gubernatorial veto.

B. The 2023 Congressional Redistricting Plan

        63.     The 2023 Congressional Plan continues North Carolina’s long tradition of enacting

redistricting plans that pack and crack minority voters into gerrymandered districts designed to

minimize their voting strength.

        64.     The sections below describe some of the most egregious features of each challenged

district.

                                     Congressional District 1

        65.     Under the 2022 Congressional Plan, Congressional District 1 (“CD-1”) had a

combined Black and Latino citizen voting age population (“CVAP”) of 44.8%. In the 2023

Congressional Plan, the Black and Latino CVAP is 44.6%.

        66.     Although the overall change in minority population is small, CD-1 subordinates

traditional districting principles in order to move minority communities in and out of the district

with the effect of weakening an existing minority opportunity district.

        67.     The 2023 Congressional Plan renders CD-1 less compact by carving out reasonably

compact minority communities in Pitt County, including by removing the City of Greenville, and




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extending further south to add Wayne and Lenoir Counties into the district. CD-1 also introduces

a new county split in Granville County.




                             CD-1 in the 2022 Congressional Plan




                             CD-1 in the 2023 Congressional Plan




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          68.     These changes to CD-1 unlawfully dilute the voting strength of the minority voters

who lived in CD-1 under the 2022 Congressional Plan, thereby reducing their ability to elect their

candidates of choice.

          69.     Race was the predominant factor in the creation of CD-1. Minority communities

were carved out of the district to the detriment of traditional districting principles in CD-1 and

surrounding districts.

          70.     CD-1 cannot survive strict scrutiny because the use of race in drawing voters within

and without of the district is not justified by a compelling state interest.

          71.     Minority voters were not placed in or removed from this district to comply with the

Voting Rights Act. To the contrary, minority voters are now less able to elect candidates of their

choice.

          72.     Even if there were a compelling state interest for the race-based redistricting of this

congressional district, the district is not narrowly tailored to achieve that interest. Other viable and

lawful alternatives to this district exist.

                                        Congressional District 6

          73.     Under the 2022 Congressional Plan, Congressional District 6 (“CD-6”) had a

combined Black and Latino CVAP of 35.6%. In the 2023 Congressional Plan, minority voters

were carved out of the district and reassigned to surrounding districts. As a result, Black and Latino

CVAP of CD-6 was decreased to 23.5%.

          74.     Under the 2023 Congressional Plan, the combined Black and Latino CVAP is no

higher than 27.8% in any of the five congressional districts across which minority voters were

cracked.




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       75.     The 2023 Congressional Plan’s redistribution of minority residents across multiple

districts comes at the expense of traditional districting principles, including respect for

communities of interest, political subdivision and geographical boundaries, and compactness.

       76.     The reduction in Black and Latino CVAP in CD-6 was accomplished primarily by

carving up Guilford County, which was entirely contained within a single congressional district

under the 2019 and 2022 Congressional Plans, into three separate congressional districts under the

2023 Congressional Plan. Guilford County’s population remains small enough to be contained

within a single congressional district.




                                CD-6 in the 2022 Congressional Plan




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                              CD-6 in the 2023 Congressional Plan

        77.     The reduction in Black and Latino CVAP was also accomplished by removing

minority voters in Forsyth County who had been located in CD-6 under the 2022 Congressional

Plan and spreading them across two separate congressional districts under the 2023 Congressional

Plan.

        78.     The three cities of Greensboro, High Point, and Winston-Salem form a singular,

well-established community of interest known as the Piedmont Triad. These three cities are also

part of the Greensboro-High Point-Winston-Salem Combined Statistical Area as defined by the

U.S. Census Bureau, which constitutes an economic community of interest based on the

commuting patterns of residents who travel between the cities for employment purposes.

        79.     Although the combined populations of Greensboro, Winston-Salem, and High

Point are small enough to be contained within a single congressional district, the 2023

Congressional Plan divides the three cities across four separate congressional districts that



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collectively span from Ashe County, on North Carolina’s borders with Tennessee and Virginia, to

Hoke County in North Carolina’s Sandhills region, approximately 25 miles from North Carolina’s

border with South Carolina.

       80.     The resulting CD-6 is significantly less compact. The district contains appendages

to carve out pockets of minority populations in Winston-Salem, Greensboro, and High Point and

unite them with voters in Concord, located near Charlotte. Although the district divides those

counties within the district with the largest minority populations, it includes the entirety of three

counties within the district with the smallest minority populations—Davie, Davidson, and

Rowan—thereby diluting the votes of minority voters in the Piedmont Triad.

       81.     The reconfiguration of CD-6 also rendered surrounding districts less compact.

Congressional District 5 now runs from Alexander County in the Western North Carolina foothills,

to Watauga County on North Carolina’s western border with Tennessee, to Alleghany County on

North Carolina’s northern border with Virginia, and along the Virginia border to Rockingham

County, before jutting south in reptilian fashion to include northwestern Guilford County and

downtown Greensboro, including pockets of minority voters.

       82.     Congressional District 9 hooks around central Greensboro to include substantial

minority populations in northern, eastern, and southern Guilford County with rural communities

in Alamance, Randolph, Moore, and Hoke Counties into a single congressional district that spans

from Greensboro to Fayetteville but contains only portions of both cities. Congressional District 9

is roughly 25 miles from the Virginia border on its northern end, and the district is roughly 25

miles from the South Carolina border on its southern end.




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                      Piedmont Triad Region in the 2022 Congressional Plan

        83.     Congressional District 10 begins in Lincoln County near Charlotte before moving

north and east through North Carolina’s foothills to include most of the city of Winston-Salem,

excluding some of its most racially diverse precincts, into a single congressional district. Forsyth

County, the only county in the district with a large Black population, is the only county in the

district that is split into multiple congressional districts.




                      Piedmont Triad Region in the 2023 Congressional Plan




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          84.     These districts are not just visually less compact. Under the 2023 Congressional

Plan, Congressional Districts 5, 6, 9, and 10 all became objectively less compact on the Reock

metric.

          85.     Race was the predominant factor in the creation of CD-6. Minority communities

were carved up and carved out of the district to the detriment of traditional districting principles

in CD-6 and surrounding districts.

          86.     The use of race in drawing residents within and without of the district is not justified

by a compelling state interest.

          87.     Minority voters were not placed in or removed from this district to comply with the

Voting Rights Act. To the contrary, CD-6 eliminates an existing minority opportunity district.

          88.     Even if there were a compelling state interest for the race-based redistricting of this

congressional district, the district is not narrowly tailored to achieve that interest. Other viable and

lawful alternatives to this district exist.

                                  Congressional Districts 12 and 14

          89.     Under the 2022 Congressional Plan, Congressional District 14 (“CD-14”) had a

combined Black and Latino CVAP of 27.5%. In the 2023 Congressional Plan, the Black and Latino

CVAP was decreased to 19.3%.

          90.     Under the 2022 Congressional Plan, Congressional District 12 (“CD-12”) had a

combined Black and Latino CVAP of 44.2%. In the 2023 Congressional Plan, the Black and Latino

CVAP was increased to 48.6%.

          91.     These two districts were redrawn in the 2023 Congressional Plan to move

reasonably compact minority communities in Mecklenburg County out of CD-14 and into CD-12.

The result of this shift is to eliminate a minority-opportunity district in CD-14.




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       92.     The 2023 Congressional Plan disregards political subdivisions and geographical

boundaries and subordinates other traditional districting principles for the purpose of moving

minority voters out of CD-14 and into CD-12.

       93.     CD-12 wraps around the city of Charlotte, including areas of Mecklenburg County

with substantial minority populations in the district while excluding some areas of Charlotte with

small minority populations. In so doing, CD-12 is rendered less compact than it was under the

2022 Congressional Plan.

       94.     CD-12 includes portions of majority-minority precincts near Interstate 485 that are

not located within the city of Charlotte, but it excludes precincts in south Charlotte that are more

than 75% white.




                       CD-12 and CD-14 in the 2022 Congressional Plan




                       CD-12 and CD-14 in the 2023 Congressional Plan


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       95.     The resulting district has a crab-like shape that wraps around the city of Charlotte

to include many of Mecklenburg County’s most racially diverse precincts while excluding white

voters in south Charlotte from the district.

       96.     CD-14 is also less compact under the 2023 Congressional Plan. Under the 2022

Congressional Plan, CD-14 consisted of parts of two adjacent counties: Mecklenburg and Gaston.

The 2023 Congressional Plan moves nearly 300,000 Mecklenburg County residents out of the

district and adds all of Burke, Cleveland, and Gaston Counties, along with Polk County, which

was entirely contained within Congressional District 11 under the 2022 Congressional Plan but is

split between CD-11 and CD-14 under the 2023 Congressional Plan.

       97.     As a result of these changes, CD-14 now has an appendage on the eastern end to

include mostly white precincts in northern Mecklenburg County and south Charlotte and an

appendage on the western end resulting from the split in Polk County.




                       CD-12 and CD-14 in the 2022 Congressional Plan




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                        CD-12 and CD-14 in the 2023 Congressional Plan

        98.      Race was the predominant factor in the creation of CD-12 and CD-14. Minority

communities were carved out of CD-14 and placed into CD-12 to the detriment of traditional

districting principles in both districts.

        99.      The use of race in drawing residents within CD-12 and without CD-14 is not

justified by a compelling state interest.

        100.     Minority voters were not placed in or removed from these districts to comply with

the Voting Rights Act. To the contrary, by moving minority voters from one district to another,

the 2023 Congressional Plan eliminates an existing minority opportunity district in CD-14.

Minority voters in CD-12, meanwhile, already had the ability to elect their candidate of choice to

the U.S. House of Representatives. Thus, compliance with the Voting Rights Act did not require

the legislature to move additional minority voters from CD-14 into CD-12.

        101.     Even if there were a compelling state interest for the race-based redistricting of

these congressional districts, the districts are not narrowly tailored to achieve that interest. Other

viable and lawful alternatives to these district configurations exist.



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C. Racial Discrimination and Voting in North Carolina

       102.     The 2023 Congressional Plan is hardly North Carolina’s first racially

discriminatory redistricting plan or voting practice. North Carolina, “[j]ust as with other states in

the South,” has “‘a long history of race discrimination generally and race-based vote suppression

in particular.’” Holmes v. Moore, 270 N.C. App. 7, 20-21, 840 S.E.2d 244, 257 (2020) (quoting

N.C. State Conf. of NAACP v. McCrory, 831 F.3d 204, 223 (4th Cir. 2016)); see also Gingles v.

Edmisten, 590 F. Supp. 345, 359-61 (E.D.N.C. 1984), aff’d in part, rev’d in part sub nom.

Thornburg v. Gingles, 478 U.S. 30 (1986) (finding that “the State of North Carolina . . . officially

and effectively discriminated against black citizens in matters touching their exercise of the voting

franchise,” which has impeded Black North Carolinians’ ability to effectively participate in the

political process); Johnson v. Halifax Cnty., 594 F. Supp. 161, 169 (E.D.N.C. 1984) (“Blacks in

Halifax County and North Carolina have been subjected to a long history of official racial

discrimination concerning their right to vote and participate in the political process.”).

       103.     Indeed, when Congress enacted the VRA, it looked to “North Carolina’s pre-1965

history of pernicious discrimination” and made “[f]orty North Carolina jurisdictions,” including

several counties that make up and surround the districts challenged here, “covered” jurisdictions

under Section 5 of the VRA based on their use of “suspect prerequisites to voting, like literacy

tests.” McCrory, 831 F.3d at 215, 223.

       104.     This history began shortly after the abolition of slavery. In 1870, Democrats took

over the legislature, at least partly through Ku Klux Klan violence, and they redistricted both

legislative and congressional seats to pack Black North Carolinians into as few districts as possible

in order to minimize the influence of Black voters and the Republican Party, which was Black

voters’ preferred party at the time. To further strengthen their control, white Democrats also

devised what they called the “white supremacy campaign” to break apart the new multiracial


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coalition by exploiting and inflaming racial tensions and encouraging whites to vote on racial,

rather than economic, lines.

       105.     “[S]tate officials [have] continued in their efforts to restrict or dilute African

American voting strength well after 1980 and up to the present day.” Holmes, 270 N.C. App. at

23, 840 S.E.2d at 258. On numerous occasions, “the North Carolina legislature has attempted to

suppress and dilute the voting rights of African Americans,” and “the Department of Justice or

federal courts have determined that the North Carolina General Assembly acted with

discriminatory intent, reveal[ing] a series of official actions taken for invidious purposes.”

McCrory, 831 F.3d at 223 (quotation marks omitted).

       106.     For example, between 1980 and 2013, the Attorney General interposed objections

under Section 5 of the Voting Rights Act to at least sixty submissions consisting of some 155

discrete voting changes in North Carolina, finding that either the State or one of the covered

political subdivisions within the State had failed to show that the proposed changes would not have

the purpose or effect of denying or abridging the right to vote on account of race or color or

membership in a language minority group.

       107.     And between 1982 and 2006, plaintiffs secured favorable outcomes in fifty-five

lawsuits brought against governmental units in North Carolina under Section 2 of the Voting

Rights Act. Ten of these lawsuits resulted in reported judicial decisions; forty-five were settled

favorably without a reported decision.

       108.     In 2013 and 2018, the General Assembly enacted restrictive voter-identification

laws that state and federal courts struck down as “targeting voters who, based on race, were

unlikely to vote” for the party controlling the General Assembly. Id. at 215, 223-33; see Holmes,

270 N.C. App. at 23, 34, 36.




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        109.     And in just the last decade, courts have repeatedly invalidated North Carolina’s

congressional and legislative maps as impermissibly discriminating against voters based on race

to dilute the minority vote or disadvantage minority voters’ candidates of choice. See Harris v.

McCrory, 159 F. Supp. 3d 600 (M.D.N.C. 2016) (three-judge court), aff’d sub nom. Cooper v.

Harris, 137 S. Ct. 1455 (2017) (invalidating two congressional districts based on the impermissible

use of race); Covington v. North Carolina, 316 F.R.D. 117 (M.D.N.C. 2016) (three-judge court)

(invalidating legislative districts based on the impermissible use of race), summarily aff’d, 137 S.

Ct. 2211 (2017); Covington v. North Carolina, 283 F. Supp. 3d 410 (M.D.N.C. 2018) (three-judge

court) (invalidating legislative districts based on the impermissible use of race), aff’d in part, rev’d

in part, 138 S. Ct. 2548 (2018); North Carolina v. Covington, 138 S. Ct. 2548 (2018) (per curiam)

(affirming district court’s conclusion that legislative districts unconstitutionally sorted voters on

the basis of race).

        110.     Finally, courts have recognized that voting in North Carolina, both historically and

today, is racially polarized, which means that “the race of voters correlates with the selection of a

certain candidate or candidates.” McCrory, 831 F.3d at 214 (quoting Gingles, 478 U.S. at 62). As

one of the State’s own experts conceded in testimony last decade, “in North Carolina, African-

American race is a better predictor for voting Democratic than party registration.” Id. at 225.

Courts since then have confirmed the same. N.C. State Conf. of NAACP v. Cooper, 430 F. Supp.

3d 15, 30 (M.D.N.C. 2019), rev’d sub nom. N.C. State Conf. of the NAACP v. Raymond, 981 F.3d

295 (4th Cir. 2020); Holmes v. Moore, 2022-NCSC-122, ¶ 5, 383 N.C. 171, 175, 881 S.E.2d 486,

491, reh’g granted, 384 N.C. 16, 882 S.E.2d 552 (2023), and opinion withdrawn and superseded

on reh’g, 384 N.C. 426, 886 S.E.2d 120 (2023).




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       111.     Ultimately, racial polarization in voting in North Carolina “offers a ‘political payoff

for legislators who seek to dilute or limit the minority vote.’” Holmes, 270 N.C. App. at 22, 840

S.E.2d at 258 (quoting McCrory, 831 F.3d at 222). “[W]hether the General Assembly knew the

exact numbers, it certainly knew that African American voters were highly likely, and that white

voters were unlikely, to vote for Democrats. And it knew that, in recent years, African Americans

had begun registering and voting in unprecedented numbers.” McCrory, 831 F.3d at 225-26. The

fact that “race and party are inexorably linked in North Carolina” creates an “incentive for

intentional discrimination in the regulation of elections.” Id. at 222.

                                      CAUSES OF ACTION

                                         COUNT I
       2023 Congressional Plan’s violations of the Fourteenth Amendment to the U.S.
                            Constitution: CDs 1, 6, 12, and 14
                        U.S. Const. amend. XIV; 42 U.S.C. § 1983
                                (Racial Gerrymandering)

       112.     Plaintiffs reallege and incorporate by reference all prior paragraphs of this

Complaint and the paragraphs in the counts below as though fully set forth herein.

       113.     The Fourteenth Amendment to the U.S. Constitution provides in relevant part: “No

State shall make or enforce any law which shall abridge the privileges or immunities of citizens of

the United States; nor shall any State deprive any person of life, liberty, or property, without due

process of law; nor deny to any person within its jurisdiction the equal protection of the laws.”

U.S. Const. amend. XIV, § 2.

       114.     Under the Equal Protection Clause of the Fourteenth Amendment to the U.S.

Constitution, a State may not, in the absence of “sufficient justification,” “separat[e] its citizens

into different voting districts on the basis of race.” Bethune–Hill v. Va. State Bd. of Elections, 580

U.S. 178, 187 (2017).




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          115.     Accordingly, if “race was the predominant factor motivating the legislature’s

decision to place a significant number of voters within or without a particular district,” then “the

design of the district must withstand strict scrutiny.” Cooper v. Harris, 581 U.S. 285, 291-92

(2017).

          116.     A plaintiff may prove “that the legislature ‘subordinated’ other factors—

compactness, respect for political subdivisions, partisan advantage, what have you—to ‘racial

considerations’ . . . through ‘direct evidence’ of legislative intent, ‘circumstantial evidence of a

district’s shape and demographics,’ or a mix of both.” Id. at 291 (quoting Miller v. Johnson, 515

U.S. 900, 916 (1995)). Upon such a showing, the State must “prove that its race-based sorting of

voters serves a compelling interest and is narrowly tailored to that end.” Id. at 292 (internal

quotation marks omitted).

          117.     Notably, “the sorting of voters on the grounds of their race remains suspect even if

race is meant to function as a proxy for other (including political) characteristics.” Id. at 308 n.7.

          118.     Race was the predominant factor in the creation of CDs 1, 6, 12, and 14.

          119.     Specifically, the General Assembly predominantly and impermissibly drew a

significant number of voters within or without CDs 1, 6, 12, and 14 on the basis of race. In so

doing, the General Assembly subordinated traditional race-neutral districting principles—

including compactness, respect for political subdivisions, and communities defined by actual

shared interests—to race.

          120.     The predominant use of race in CDs 1, 6, 12, and 14 is not narrowly tailored to

serve a compelling state interest, including compliance with the VRA.

          121.     Thus, CDs 1, 6, 12, and 14 in the 2023 Congressional Plan violate Plaintiffs’ rights

under the Equal Protection Clause of the Fourteenth Amendment to the U.S. Constitution.




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        122.     Plaintiffs have no adequate remedy at law other than the judicial relief sought here.

The failure to enjoin enforcement of the 2023 Congressional Plan will irreparably harm Plaintiffs’

constitutional rights.

                                        COUNT II
 2023 Congressional Plan’s violations of the Fourteenth and Fifteenth Amendments to the
                                    U.S. Constitution
                   U.S. Const. amends. XIV and XV; 42 U.S.C §1983
                               (Intentional Discrimination)

        123.     Plaintiffs reallege and incorporate by reference all prior paragraphs of this

Complaint and the paragraphs in the counts below as though fully set forth herein.

        124.     The Fourteenth Amendment guarantees racial and ethnic minorities equal

protection of the laws. U.S. Const. amend. XIV. And the Fifteenth Amendment guarantees that

their votes will not be denied or abridged on account of their race or color. U.S. Const. amend.

XV.

        125.     The Equal Protection Clause of the Fourteenth Amendment and the Fifteenth

Amendment to the U.S. Constitution forbid states from enacting laws for which a racially

discriminatory intent or purpose is a motivating factor.

        126.     To establish intentional discrimination, a plaintiff need only show that

discriminatory purpose was “a” motivating factor in the legislation—not the only, or even the

predominant, factor. “Rarely can it be said that a legislature or administrative body operating under

a broad mandate made a decision motivated solely by a single concern, or even that a particular

purpose was the ‘dominant’ or ‘primary’ one.” Vill. of Arlington Heights v. Metro Housing Dev.

Corp., 429 U.S. 252, 265 (1977).

        127.     The Supreme Court has identified the following non-exclusive list of factors that

may tend to prove intentional discrimination: (1) “The impact of the official action—whether it




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bears more heavily on one race than another. . . . Sometimes a clear pattern, unexplainable on

grounds other than race, emerges from the effect of the state action even when the governing

legislation appears neutral on its face.” (2) “The historical background of the decision . . . ,

particularly if it reveals a series of official actions taken for invidious purposes.” (3) “The specific

sequence of events leading up to the challenged decision also may shed some light on the

decisionmaker’s purposes. Departures from the normal procedural sequence also might afford

evidence that improper purposes are playing a role.” (4) “Substantive departures too may be

relevant, particularly if the factors usually considered important by the decisionmaker strongly

favor a decision contrary to the one reached.” (5) “The legislative or administrative history may

be highly relevant, especially where there are contemporary statements by members of the

decisionmaking body, minutes of its meetings, or reports.” Id. at 266-68 (quotations omitted).

        128.     When “a State intentionally dr[aws] district lines in order to destroy otherwise

effective crossover districts, that [] raises[s] serious questions under both the Fourteenth and

Fifteenth Amendments.” Bartlett v. Strickland, 556 U.S. 1, 24 (2009) (plurality).

        129.     The 2023 Congressional Plan was adopted, at least in part, with a racially

discriminatory intent to discriminate against minority voters in violation of the U.S. Constitution.

        130.     The 2023 Congressional Plan will have a discriminatory impact on minority North

Carolinians—a fact that was foreseeable when Defendants drafted and passed the Plan. Elected

officials in North Carolina have limited minority voters’ ability to elect or even influence elections

through the purposeful cracking and packing of minority voters.

        131.     In particular, the 2023 Congressional Plan intentionally dismantles CD-6 and CD-

14, which were effective crossover districts under the previous plan, and weakens CD-1, which

was a historically performing minority opportunity district.




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       132.     Moreover, other circumstantial evidence raises a strong inference of a

discriminatory purpose motivating the enactment of the 2023 Congressional Plan, including North

Carolina’s well-documented history and ongoing record of discrimination against Black North

Carolinians in redistricting and other voting practices, the sequence of events and non-transparent

process that led up to the enactment of the 2023 Congressional Plan, and the stark disparity

between the robust demographic gains for minority populations and decreased electoral

opportunities for minority voters.

       133.     Plaintiffs have no adequate remedy at law other than the judicial relief sought in

this case. The failure to enjoin the conduct of elections under the 2023 Congressional Plan and

ordering of remedial maps will irreparably harm Plaintiffs by subjecting them to intentionally

racially discriminatory districts until the end of the decade.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court:

       a.       Convene a court of three judges pursuant to 28 U.S.C. § 2284(a);

       b.       Declare that Congressional Districts 1, 6, 12, and 14 under the 2023 Congressional

Plan are unconstitutional because each constitutes a racial gerrymander in violation of the Equal

Protection Clause of the Fourteenth Amendment;

       c.       Declare that the 2023 Congressional Plan is unconstitutional because it was passed

with discriminatory intent as a motivating factor in violation of the Fourteenth and Fifteenth

Amendments;

       d.       Enjoin Defendants, as well as their agents and successors in office, from enforcing

or giving any effect to the boundaries of the congressional districts in the 2023 Congressional Plan,

including an injunction barring Defendants from conducting any further congressional elections

under the current map;


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       e.      Hold hearings, consider briefing and evidence, and otherwise take actions

necessary to order the adoption of a valid congressional plan in the State of North Carolina;

       f.      Grant such other or further relief the Court deems appropriate, including but not

limited to an award of Plaintiffs’ attorneys’ fees and reasonable costs.




 Dated: December 4, 2023


 PATTERSON HARKAVY LLP                                    ELIAS LAW GROUP LLP

  /s/ Narendra K. Ghosh                                   Abha Khanna*
 Narendra K. Ghosh, NC Bar No. 37649                      1700 Seventh Avenue, Suite 2100
 Burton Craige, NC Bar No. 9180                           Seattle, Washington 98101
 Paul E. Smith, NC Bar No. 45014                          Phone: (206) 656-0177
 100 Europa Dr., Suite 420                                Facsimile: (206) 656-0180
 Chapel Hill, NC 27517                                    AKhanna@elias.law
 (919) 942-5200
 nghosh@pathlaw.com                                       Jyoti Jasrasaria*
 bcraige@pathlaw.com                                      Michael Jones*
 psmith@pathlaw.com                                       Mark Haidar*
                                                          250 Massachusetts Ave., Suite 400
 Counsel for Plaintiffs                                   Washington, D.C. 20001
                                                          Phone: (202) 968-4490
                                                          Facsimile: (202) 968-4498
                                                          JJasrasaria@elias.law
                                                          MJones@elias.law
                                                          MHaidar@elias.law

                                                          *Notices of Special Appearance
                                                          Forthcoming




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